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 7                                                                 The Honorable Ronald B. Leighton

 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT TACOMA

10   JUDITH COX and CHARLES COX                         NO. 14-05923RBL
     individually and as Personal
11   Representatives of the Estates of C.J.P.           SECOND DECLARATION OF
     and B.T.P.,                                        PETER J. HELMBERGER IN
12                                                      SUPPORT OF RESPONSE TO
                                                        PLAINTIFFS' MOTION FOR
13                              Plaintiffs,             PARTIAL SUMMARY JUDGMENT
                                                        TO STRIKE AFFIRMATIVE
14                              V.                      DEFENSES

15   STATE OF WASHINGTON,
     DEPARTMENT OF SOCIAL AND
16   HEALTH SERVICES, FOREST
     JACOBSON, ROCKY STEPHENSON,
17   JANE WILSON, and BILLIE REED-
     LYYSKI,
18

19                              Defendants.

20
             PETER J. HELMBERGER hereby declares under penalty of perjury under the laws of the
21
     state of Washington that the following is true and correct:
22
             1.     I am over the age of 18, competent to testify as to the matters stated herein and
23
     make this declaration based on my personal knowledge. I am one of the Assistant Attorneys
24
     General assigned to represent the State of Washington in this case.
25

26

      SECOND DECLARATION OF PETER J.                                       OFFICE OF THE ATTORNEY GENERAL
                                                                                1250 Pacific Avenue, Suite 105
      HELMBERGER IN SUPPORT OF                                                          P.O. Box 2317
      DEFENDANT'S MOTION FOR PARTIAL                                                 Tacoma, WA 98401
      SUMMARY JUDGMENT                                                                 (253) 593-5243
      Case No. 14-05923 RBL
 1
             2.      Attached hereto as Exhibit 1 is a true and correct copy of excerpts from the
 2
     deposition of Betsy Rodgers, taken March 10, 2014, page 43, line 14 to page 44, line 12.
 3
             3.      Attached hereto as Exhibit 2 is a true and correct copy of excerpts from the
 4
     deposition of Detective Ellis Maxwell, taken December 2, 2013, page 78, lines 13-24; page 112,
 5
     line 1 to page 113, line 9; page 161, lines 7 t 17.
 6
             4.      Attached hereto as Exhibit 3 is a true and correct copy of excerpts from the
 7
     deposition of Gary L. Sanders, taken September 18, 2014, page 20, line 11 to page 21, line 16;
 8
     page 22, line 6 to page 23, line 11.
 9
             5.      Attached hereto as Exhibit 4 is a true and correct copy of the Declaration of Forest
10
     Jacobson in Support of Motion for Summary Judgment, with attachments, dated June 26, 2014.
11
             6.      Attached hereto as Exhibit 5 is a true and correct copy of the Declaration of Peter
12
     J. Helmberger in Support of Motion for Summary Judgment, with attachments, dated July 3,

13 2014.
14
             7.      Attached hereto as Exhibit 6 is a true and correct copy of the transcript from the
15
     February 1, 2012 dependency hearing.
16
             DATED this             day of July, 2015 in Tacoma, Washington.
17

18

19                                                PETER1FtELMBRGER, WSBA No. 23041
                                                  Assistt Attorney General
20

21

22

23

24

25

26

      SECOND DECLARATION OF PETER J.                       2              OFFICE OF THE ATTORNEY GENERAL
                                                                              1250 Pacific Avenue, Suite 105
      HELMBERGER IN SUPPORT OF                                                       P.O. Box 2317
      DEFENDANT'S MOTION FOR PARTIAL                                               Tacoma, WA 98401
      SUMMARY JUDGMENT                                                               (253) 593-5243
      Case No. 14-05923 RBL
 1
                                       CERTIFICATE OF SERVICE
2
             I hereby certify that on this 27th day of July, 2015, I caused to be electronically filed the
 3
     foregoing document with the Clerk of the Court using the CM!ECF system which will send
 4
     notification of such filing to the following:

     James S. Rogers
     Elizabeth Donaldson
     Cheryl Snow
 7   Law Offices Of James S. Rogers
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     Seattle, WA 98101
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     isr@isrogerslaw.com
 9   csnowi srogerslaw.com
     liz@isrolzerslaw.com
10
     Anne Bremner
11   Evan Bariault
     1200 Fifth Avenue, Suite 1900
12   Seattle, WA 98101

13   abremner@freybuck.com
     ebariault@freybuck.com
14
15                                                   ROBERT W. FERGUSON
                                                     Attorney General
16
                                                     /VPeter.T. -(thnbe,rr
17                                                   PETER J. HELMBERGER, WSBA No. 23041
                                                     Assistant Attorney General
18                                                   1250 Pacific Avenue, Suite 105
                                                     Tacoma, WA 98401
19                                                   Telephone: (253) 593-5243
                                                     FAX: (253) 593-2449
20                                                   E-mail: PeterH(,atg.wa. gov
21
                                                     /s/Toefrv1'1. D'
22                                                   JOSEPH M. DIAZ, WSBA No. 16170
                                                     Assistant Attorney General
23                                                   7141 Cleanwater Ln SW
                                                     Tumwater, WA 98501
24                                                   Telephone: (360) 586-6300
                                                     FAX: (360) 586-6655
25                                                   E-mail: JosephD(atg.wa.gov
                                                     Attorneys for Defendants
26

      SECOND DECLARATION OF PETER J.                      3                OFFICE OF THE ATTORNEY GENERAL
                                                                                1250 Pacific Avenue, Suite 105
      HELMBERGER IN SUPPORT OF                                                         P.O. Box 2317
      DEFENDANT'S MOTION FOR PARTIAL                                                 Tacoma, WA 98401
      SUMMARY JUDGMENT                                                                (253) 593-5243
      Case No. 14-05923 RBL
EXHIBIT 1
      BETSY RODGERS; March 10, 2014                             1


·1· · · IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON

·2· · · · · · · · · · · FOR PIERCE COUNTY

·3· ·______________________________________________________

·4·   ·JUDITH COX and CHARLES COX,· · · · )
· ·   ·individually and as Personal· · · ·)
·5·   ·Representatives of the Estates· · ·)
· ·   ·of C.J.P and B.T.P.,· · · · · · · ·)
·6·   · · · · · · · · · · · · · · · · · · )
· ·   · · · · · · ·Plaintiffs,· · · · · · )
·7·   · · · · · · · · · · · · · · · · · · )
· ·   · · vs.· · · · · · · · · · · · · · ·)No. 12-2-11389-6
·8·   · · · · · · · · · · · · · · · · · · )
· ·   ·STATE OF WASHINGTON, DEPARTMENT· · )
·9·   ·OF SOCIAL AND HEALTH SERVICES,· · ·)
· ·   · · · · · · · · · · · · · · · · · · )
10·   · · · · · · ·Defendant.· · · · · · ·)
· ·   ·______________________________________________________
11

12· · · · · · ·DEPOSITION UPON ORAL EXAMINATION OF

13

14· · · · · · · · · · · ·BETSY RODGERS

15· ·______________________________________________________

16

17· · · · · · · · · · · · ·9:15 a.m.

18· · · · · · · · · · · ·MARCH 10, 2014

19· · · · · · · ·1250 PACIFIC AVENUE, SUITE 105

20· · · · · · · · · · ·TACOMA, WASHINGTON

21

22

23

24· ·REPORTED BY:· LORRIE R. CHINN, RPR, CCR 1902

25
      BETSY RODGERS; March 10, 2014                                   2


·1· · · · · · · · · · A P P E A R A N C E S

·2

·3· ·FOR THE PLAINTIFFS:

·4·   ·   ·   ·   ·   ELIZABETH L. (LIZ) DONALDSON and
· ·   ·   ·   ·   ·   CHERYL L. SNOW
·5·   ·   ·   ·   ·   The Law Offices of James S. Rogers
· ·   ·   ·   ·   ·   1500 Fourth Avenue, Suite 500
·6·   ·   ·   ·   ·   Seattle, Washington 98101
· ·   ·   ·   ·   ·   206.621.8525
·7·   ·   ·   ·   ·   liz@jsrogerslaw.com and csnow@jsrogerslaw.com

·8
· ·   ·FOR THE DEFENDANT:
·9
· ·   ·   ·   ·   ·   PETER J. HELMBERGER
10·   ·   ·   ·   ·   Assistant Attorney General
· ·   ·   ·   ·   ·   1250 Pacific Avenue, Suite 105
11·   ·   ·   ·   ·   Tacoma, Washington 98401-2317
· ·   ·   ·   ·   ·   253.593.5243
12·   ·   ·   ·   ·   peterh@atg.wa.gov

13·   ·   ·   ·   ·   JOSEPH M. DIAZ
· ·   ·   ·   ·   ·   Assistant Attorney General
14·   ·   ·   ·   ·   7141 Cleanwater Drive SW
· ·   ·   ·   ·   ·   Olympia, Washington 98504-0126
15·   ·   ·   ·   ·   360.586.6300
· ·   ·   ·   ·   ·   josephd@atg.wa.gov
16

17· ·ALSO PRESENT:· NONE

18

19

20

21

22

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25
   BETSY RODGERS; March 10, 2014                              43


·1· · · ·A.· Yeah, uh-huh.· They were, I believe, a family

·2· that Mr. Powell had put forward requesting that they be

·3· allowed to supervise visitation.

·4· · · ·Q.· Right.· Did the Department provide any

·5· training or education for the Atkins about the case?

·6· · · ·A.· I'm unaware of that.

·7· · · ·Q.· How were the visits in this case -- how was a

·8· decision made to change the location of the visits to

·9· Josh's home?

10· · · ·A.· What do you mean by how?

11· · · ·Q.· At some point there was a decision made to

12· allow visitation at Josh's home, correct?

13· · · ·A.· Yes.

14· · · ·Q.· What's the procedure for going about making

15· the decision of where the supervised visitations can

16· occur?

17· · · ·A.· Normally there's a progression to visitation.

18· In most cases visitation begins as supervised.· Then it

19· could go to monitored visitation.· Then it could go to

20· unsupervised visitation.· That's normally the

21· progression.· And then the frequency and location,

22· duration of visitation can be -- it's normally -- it's

23· normally increased as a parent perhaps may evolve in

24· their court-ordered services.

25· · · ·Q.· So in this case did Josh evolve in his




                                                                   YVer1f
   BETSY RODGERS; March 10, 2014                              44


·1· court-ordered services?

·2· · · ·A.· No.· He was participating in court-ordered

·3· services and had completed court-ordered services.

·4· · · ·Q.· So as a result the case progressed in the

·5· normal manner, and he was allowed to have visitation at

·6· his home?

·7· · · ·A.· Visitation is -- normally in most cases

·8· visitation is normally trying to be least restrictive.

·9· And so the primary least restrictive visitation

10· location in a case would be at a parent's home.· So it

11· would not be unusual for that to occur.· It's the most

12· least restrictive environment.

13· · · ·Q.· Would the parent have had to make progress in

14· order to get -- you were talking about in a court

15· order?

16· · · ·A.· Uh-huh.

17· · · ·Q.· What about in visitation?· Would they have had

18· to show some kind of progress on how the visitation was

19· going in order to get that reward of having visitation

20· in their own home?

21· · · ·A.· Normally, yes, they would have demonstrated

22· progress and compliance with court-ordered services and

23· with -- there would be some indication in the

24· visitation that there's positive interaction occurring

25· between a parent and a child and that -- via reports




                                                                   YVer1f
      BETSY RODGERS; March 10, 2014                                  54


·1· · · · · · · · · · · REPORTER'S CERTIFICATE

·2

·3· · · · · ·I, LORRIE R. CHINN, the undersigned Certified Court

·4· ·Reporter, pursuant to RCW 5.28.010 authorized to administer

·5· ·oaths and affirmations in and for the State of Washington, do

·6· ·hereby certify:

·7· · · · · ·That the sworn testimony and/or proceedings, a

·8· ·transcript of which is attached, was given before me at the

·9· ·time and place stated therein; that any and/or all witness(es)

10· ·were duly sworn to testify to the truth; that the sworn

11· ·testimony and/or proceedings were by me stenographically

12· ·recorded and transcribed under my supervision, to the best of

13· ·my ability; that the foregoing transcript contains a full,

14· ·true, and accurate record of all the sworn testimony and/or

15· ·proceedings given and occurring at the time and place stated

16· ·in the transcript; that I am in no way related to any party to

17· ·the matter, nor to any counsel, nor do I have any financial

18· ·interest in the event of the cause.

19· · · · · ·WITNESS MY HAND AND DIGITAL SIGNATURE this 17th day

20· ·of March, 2014.

21

22

23·   ·______________________________
· ·   ·LORRIE R. CHINN
24·   ·Washington State Certified Court Reporter, #1902
· ·   ·lchinn@yomreporting.com
25
EXHIBIT 2
                 Detective Ellis Maxwell / CONFIDENTIAL           12/2/2013


   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                       FOR PIERCE COUNTY


JUDITH COX and CHARLES COX
individually and as Personal
Representatives of the Estate
of C.J.P. and B.T.P.,

               Plaintiffs,

        vs.

STATE OF WASHINGTON, DEPARTMENT
OF SOCIAL AND HEALTH SERVICES,
               Defendant.



~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
 DEPOSITION OF RECORDS CUSTODIAN OF WEST VALLEY CITY
                  POLICE DEPARTMENT
          DEPONENT: DETECTIVE ELLIS MAXWELL
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~

                         **CONFIDENTIAL**




Taken at:                Dewsnup, King & Olsen
                         36 South State Street, Suite 2400
                         Salt Lake City, Utah   84111
Date:                    Monday, December 2, 2013
Time:                    10:01 a.m.

Reported by:             Teena Green, CSR, RPR, CRR, CBC




          50 West Broadway, Suite 900, Salt Lake City, UT 84101
                             801-983-2180
                                                                  Page 1
                    Detective Ellis Maxwell / CONFIDENTIAL           12/2/2013


1                              APPEARANCES
2
     FOR THE PLAINTIFF:
3
     CHERYL L. SNOW
4    ATTORNEY AT LAW
     LAW OFFICES OF JAMES S. ROGERS
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     Seattle, Washington   98101
6    csnow@jsrogerslaw.com
     (206) 621-8525
7
8
     FOR THE DEFENDANT VIA SPEAKERPHONE/TELEPHONICALLY:
9
     PETER HELMBERGER
10   ATTORNEY AT LAW
     OFFICE OF THE ATTORNEY GENERAL
11   1250 Pacific Avenue, Suite 105
     Tacoma, Washington   98401
12   (253) 593-5243
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     (801)963-3273
19
20
     J. ERIC BUNDERSON
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     eric.bunderson@wvc-ut.gov
24   (801)963-3271
25


             50 West Broadway, Suite 900, Salt Lake City, UT 84101
                                801-983-2180
                                                                     Page 2
                       Detective Ellis Maxwell / CONFIDENTIAL            12/2/2013


 1   BY MS. SNOW:
 2         Q.        Do you recall, during any of your
 3   communication with Washington's Children's Admin, if
 4   they asked any questions of you regarding whether or
 5   not you saw any evidence of domestic violence in the
 6   relationship between Susan and Josh?
 7         A.        I don't remember specifically a
 8   conversation like that.
 9         Q.        Where they asked you specifically if you
10   saw any signs of domestic violence in their
11   relationship?
12         A.        And they could have, I don't recall.
13         Q.        Okay, but you know that you did not
14   release any of the information about what could be
15   viewed as domestic violence to Children's Admin?
16         A.        Right.      I mean I didn't have any evidence
17   to support that there was physical abuse in the home,
18   so I did not release any of that to them.
19         Q.        What about the other type of abusive
20   behavior?
21         A.        I could have let them know that there was
22   maybe the controlling and verbal abuse, but I don't
23   recall like a specific conversation or a date or a
24   time or who I would have shared that with.
25         Q.        You may have related that?



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                                   801-983-2180
                                                                        Page 78
                       Detective Ellis Maxwell / CONFIDENTIAL             12/2/2013


1          Q.        Okay.     Do you recall if any steps were
2    taken at that time, in recognition of the risk the
3    children may be placed in by being seized and
4    interviewed about their dad possibly being involved in
5    a murder and then being released directly back home?
6    Were there any steps taken to address that possible
7    harm or safety risk?
8          A.        I do not know.         I do not recall.
9          Q.        Do you think there should have been?
10         A.        Well, I --
11                   MS. STONEBROOK:         Objection, calls for
12   speculation.
13                   THE WITNESS:        I don't know what the State
14   of Washington, what their procedures are, so...
15   BY MS. SNOW:
16         Q.        Well, you created the risk, right, your
17   agency, by requesting the warrant?
18         A.        Right.
19         Q.        By seizing the children?
20         A.        Right.
21         Q.        By interviewing them and by then releasing
22   them directly back home.            That was your decision to
23   do?
24         A.        Right.
25         Q.        And do you believe or recognize that that



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                                   801-983-2180
                                                                        Page 112
                       Detective Ellis Maxwell / CONFIDENTIAL             12/2/2013


1    could cause some kind of risk to the safety of a child
2    who's in that situation?
3                    MS. STONEBROOK:         Objection, asked and
4    answered.
5                    THE WITNESS:        Yeah, at no point in this
6    investigation did we fear the safety of those
7    children.     Even getting the search warrant and doing
8    the forensic interview in the state of Washington,
9    there was no fear that Josh would harm those children.
10   BY MS. SNOW:
11         Q.        Why didn't you have that concern?
12         A.        One, I didn't have any evidence to support
13   that he would harm them, and I guess just gut feeling,
14   there was nothing to support it.
15         Q.        You had a gut feeling that he wouldn't
16   harm his kids?
17         A.        And I didn't have anything to support that
18   he would harm them.
19         Q.        And you didn't recognize, in either
20   situation, the fact that you may be interviewing them
21   for evidence against their father, that that could
22   place the children at risk?
23                   MS. STONEBROOK:         Objection, this is asked
24   and answered and it's getting argumentative now.
25                   MR. HELMBERGER:         And I object to the



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                                   801-983-2180
                                                                        Page 113
                       Detective Ellis Maxwell / CONFIDENTIAL             12/2/2013


1          Q.        Okay.     I'm sorry, did you finish?
2          A.        Yeah.
3          Q.        Okay.     At any time, was part of the core
4    group or the group discussions were members from the
5    District Attorney's Office present?
6          A.        Yes.
7          Q.        Okay.     As part of the discussion that the
8    group had, was there ever any discussion into removing
9    the boys from Josh Powell's care prior to his
10   departure from Utah?
11         A.        I can't recall if there was any specific
12   questions regarding that, removing them from their
13   custody.     I vaguely remember discussing it, but I
14   don't think DCFS here would get involved or do
15   anything.     We didn't have any evidence to support the
16   removal of those children other than their mom
17   missing.
18         Q.        Do you recall if you had conversations
19   with any member of DCFS?
20         A.        No.
21         Q.        Okay.     Could you tell us -- I'm assuming
22   the process is, more or less, the same in Utah as it
23   is here, but could you tell us -- I take it, from time
24   to time over the course of your career, you had
25   occasion to contact DCFS?



                50 West Broadway, Suite 900, Salt Lake City, UT 84101
                                   801-983-2180
                                                                        Page 161
                     Detective Ellis Maxwell / CONFIDENTIAL            12/2/2013


 1                              CERTIFICATE
 2
 3         This is to certify that the witness in the
 4   foregoing deposition was duly sworn to testify to the
 5   truth, the whole truth, and nothing but the truth in
 6   the within-entitled cause;
 7         That said deposition was taken at the time and
 8   place herein named;
 9         That the testimony of said witness was reported
10   by me in stenotype and thereafter transcribed into
11   written form;
12         That review of this deposition was requested
13   and, therefore, pursuant to Rule 30(e) of the Utah
14   Rules of Civil Procedure the witness shall have 30
15   days in which to review and make changes to the
16   transcript.
17         I further certify that I am not of kin or
18   otherwise associated with any of the parties of said
19   cause of action and that I am not interested in the
20   event thereof.
21
22   ________________________________
     Teena Green, RPR, CSR, CRR, CBC
23
24
25



             50 West Broadway, Suite 900, Salt Lake City, UT 84101
                                801-983-2180
                                                                     Page 174
EXHIBIT 3
                                                                      1




 1
              IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 2
 3                     IN AND FOR THE COUNTY OF PIERCE
     ___________________________________________________________________
 4                                                )
           JUDITH COX and CHARLES COX             )
 5         individually and as Personal           )
           Representatives of the Estates of      )
 6         C.J.P. and B.T.P.,                     )
                                                  ) NO. 12-2-11389-6
 7                 Plaintiffs,                    )
                                                  )
 8          vs.                                   )
                                                  )
 9         STATE OF WASHINGTON, DEPARTMENT OF     )
           SOCIAL AND HEALTH SERVICES,            )
10                                                )
                   Defendant.                     )
11                                                )
        _______________________________________________________________
12
                    DEPOSITION UPON ORAL EXAMINATION OF
13                            Gary L. Sanders
       _______________________________________________________________
14
15
16
17
18
19
20     TAKEN ON:   Thursday, September 18, 2014
21     TAKEN AT:   Pierce County Prosecuting Attorney's Office
                   955 Tacoma Avenue South, Suite 301
22                 Tacoma, Washington 98402
23
24
25     REPORTED BY:    JULIE KIBLER, RPR-CCR




                      JAMES, SANDERSON & LOWERS (253) 445-3400
                                                              2




 1            A P P E A R A N C E S    O F    C O U N S E L
 2
 3   FOR THE PLAINTIFFS:
 4      Cheryl Snow, Esq.
        Law Offices of James S. Rogers
 5      Attorneys at Law
        1500 Fourth Avenue, Suite 500
 6      Seattle, Washington 98101
 7
 8   FOR THE DEFENDANT:
 9       Peter J. Helmberger, AAG
         Office of the Attorney General
10       Attorneys at Law
         1250 Pacific Avenue, Suite 105
11       Tacoma, Washington 98401
12
     FOR THE WITNESS:
13
         Michael Sommerfeld, Esq.
14       Pierce County Prosecuting Attorney
         955 Tacoma Avenue S, Suite 208
15       Tacoma, Washington 98402
16
17   ALSO PRESENT:   None
18
19
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21
22
23
24
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                 JAMES, SANDERSON & LOWERS (253) 445-3400
     Sanders - By Mr. Helmberger                                           20




 1       that we, you know, arrested Stephen.       Now Stephen was a
 2       suspect.    And we placed the kids.     So it was something that
 3       was -- kind of like the hot topic of what's going on.        I
 4       mean, it was a big thing.      We got, you know, a huge amount
 5       of, you know, media attention and stuff when we served the
 6       warrant.    It was a continuous thing that was brought up in
 7       the news, so it was just kind of one of those thing that
 8       you talked about a lot, Hey, what's going on with this?
 9       Oh, this is happening.
10                But was it spoken about every Wednesday?
11   Q   Do you recall conversations with John Long that there was a
12       concern there was not enough evidence to keep the
13       dependency going?
14   A   Yeah.    I can't say for sure if it was John Long.      It would
15       have been John Long, since he's the attorney.         You know,
16       and that's why it was such a push to go, you know, talk to
17       Dr. Manley.     And there was a push to find something.      There
18       was a push, to me, that I pushed the West Valley, going,
19       Hey, we need something.      You know, after our -- I think it
20       was the hearing in December.      It was like, you know,
21       there's not much more coming.      We need something.    And that
22       was expressed to me from the AG's office.       So, then, I went
23       to West Valley and said, Hey, you guys have got to give me
24       something.
25   Q   Did you feel you had anything that you could give the




                    JAMES, SANDERSON & LOWERS (253) 445-3400
     Sanders - By Mr. Helmberger                                         21




 1       Attorney General's Office that you didn't?
 2   A   No.   I mean, we'd given them the voyeurism that showed --
 3       you know, we had given them quite a bit.
 4   Q   Sort of the same question, only this time with Rocky
 5       Stephenson.     Did you have conversations with Rocky
 6       Stephenson where he expressed that there's lack of evidence
 7       to keep the dependency rolling?
 8   A   I don't think specifically where he would have said, you
 9       know, there's lack of evidence.      But we talked about,
10       probably, what John talked about with us, about how we
11       needed more.     I mean, we talked about it all the time; how
12       we were hoping West Valley would just arrest them.
13   Q   Okay.    So fair enough.    It's an ongoing conversation that
14       the boys were going to be returned home unless West Valley
15       came up with evidence to keep them out of the home?
16   A   Yeah.
17   Q   And the evidence turned out to be -- or it was -- were the
18       images on that -- that were pulled off of Joshua Powell's
19       computer?
20   A   Hard drive, yeah.
21   Q   Right.
22                 And they were pulled off of his computer during a
23       search that the West Valley City Police Department did back
24       in -- it would have been --
25   A   August.    No, no, those were from the ones they did back at




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     Sanders - By Mr. Helmberger                                       22




 1       their house in West Valley.     My apologies.
 2   Q   In December of 2009?
 3   A   Yeah, yeah.
 4                I mean, they waited until the last absolute moment
 5       to give us that.
 6   Q   Well, did you feel, then, that you didn't have sufficient
 7       evidence?    I mean, suppose the court were to say, Okay, the
 8       boys were to return home.     Did you feel you didn't have
 9       sufficient evidence to place them into protective custody,
10       just based on what you thought might happen?
11   A   At what point are you talking about?
12   Q   Well, it seems you were -- everybody was worried that the
13       boys were going to be returned home; fair?
14   A   Yes.
15   Q   And they were worried because there was a lack of evidence
16       to support the dependency; fair?
17   A   It was going that way, yes.
18   Q   But how come you couldn't place the kids in protective
19       custody, if they were returned home, based on your --
20   A   Because I needed evidence.      I mean, I placed them in
21       September, based upon the evidence that we got from the
22       warrant in August.
23   Q   Right.
24   A   But now the evidence that we received in August was going
25       towards Stephen.      So I was arresting Stephen; all the




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     Sanders - By Mr. Helmberger                                             23




 1       sexual stuff.     All that stuff was pointing more towards
 2       Stephen.    So I think the AG's office was concerned, now,
 3       that, okay, Josh has the boys.        If he gets the boys back,
 4       he can separate himself from the sexual deviancy, based
 5       on -- that it was all Stephen's stuff.          So they needed more
 6       for Joshua, to prove that Joshua specifically was a risk to
 7       the boys.
 8   Q   Right.
 9   A   And us -- and me thinking that he killed Susan, and us all
10       thinking that he killed Susan, wasn't enough.          That's not
11       something to substantiate it.
12   Q   Why not?    Why isn't that enough?
13   A   Because it's not.         Thinking something.   I think things all
14       the time.
15   Q   Well, and the reality is Utah didn't place the boys into
16       protective custody; right?
17   A   No.    We did.
18   Q   And Utah, and Utah social services didn't place them in
19       protective custody?
20   A   No.    We did.
21   Q   Right.    It didn't happen until you did?
22   A   Yes.
23   Q   Right.
24                And, then, you didn't do it until you had evidence
25       that there was potentially child pornography going on in




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                                                                     49




 1                          C E R T I F I C A T E
 2   STATE OF WASHINGTON)
                        ) ss.
 3   COUNTY OF PIERCE   )
 4       I, Julie M. Kibler, Washington State Certified Court
 5   Reporter, pursuant to RCW 5.28.010, authorized to administer
 6   oaths and affirmations in and for the State of Washington,
 7   hereby certify I reported the foregoing proceedings; said
 8   testimony being taken before me on the date herein set forth;
 9   that the witness was first by me duly sworn; that said
10   testimony was taken by me in shorthand and thereafter under my
11   direction transcribed, and that same is a full, true and
12   correct record of the testimony, including all questions,
13   answers, objections, motions, stipulations, and exceptions, if
14   any, of counsel, to the best of my ability, prepared pursuant
15   to WAC 308-14-135.
16           I further certify that I am in no way related to any
17   party or counsel to this matter; nor am I financially
18   interested in the said action or outcome thereof.
19           Transcribed notes will be destroyed three years from
20   the affixed date unless requested by any party or counsel to
21   retain them.
22           IN WITNESS WHEREOF, I have hereunto set my hand this
23   ____________ day of ___________________, 2014.
24
25                           Julie M. Kibler, CCR-RPR
                             CCR NO. 2720




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EXHIBIT 4
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